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                               Ciresi Conlin      LLP




                              July 16, 2018


                              The Honorable Patrick J. Schiltz
                              United States District Court
                              14E U.S. Courthouse
                              300 South Fourth Street
Andrew H. Mohring
Partner                       Minneapolis, MN 55415

E: AHM@CiresiConlin.com       Re: Ligons, et al. v. Minnesota Department of Corrections, et al.
P: 612-361-8230
                                     Court File No. I 5-CV-2210 (PJSIBRT)
225 South 6th St.
Suite 4600                    Dear Judge Schiltz:
Minneapolis. MN 55402
612-361-8200
CiresiConlin.com               I write to bring a recent decision in a related case to the Court's attention:
                               Chimenti, et. al. v. Wetzel, et. al, 15-cv-3333, E.D. Pa., 2018 WL 3388305
                               (July 12, 2018).

                               Please let me know if you wish additional information or input.


                               Sincerely,


                              Isl Andrew H. Mohring

                               Andrew H. Mohring

                               cc:      Kathryn Fodness
                                        Kelly S. Kemp
                                        Peter J. Nickitas
                                        Carl Peter Erlinder
